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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS

CITIZENS INSURANCE COMPANY of                     )
AMERICA,                                          )
                                                  )
                                                  )
                               Plaintiff,         )
                                                  )
vs.                                               )                Civil Action No.: 1:22-cv-3800
                                                  )
COOLER SCREENS, INC.; REBECCA                     )
ROBERTS, individually and on behalf of all others )
similarly situated; and REBECCA WHITE and         )
KRISTEN YUKNA, individually and on behalf of )
all others similarly situated,                    )
                                                  )
                               Defendants.        )


   PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL WITHOUT PREJUDICE

          Plaintiff Citizens Insurance Company of America (“Citizens”), by and through counsel of

record, moves this Honorable Court, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i)

for voluntary dismissal, without prejudice, and in support state as follows:

         1.            On July 22, 2022, Plaintiff Citizens filed the instant declaratory judgment action

(Doc. 1) seeking a declaration it has no duty to defend or indemnify Cooler Screens, Inc. (“Cooler

Screens”) in connection with two underlying putative class action suits captioned, Rebecca Roberts

v. Cooler Screens, Inc., bearing Case No. 22 CH 01824, filed in the Circuit Court of Cook County,

Illinois, and Rebecca White, et. al v. Cooler Screens, Inc., bearing Case No. 22 CH 05810, filed in

the Circuit Court of Cook County, Illinois.

         2.            Pursuant to the terms of an agreement between Citizens and Cooler Screens,

Citizens has agreed to dismiss this action without prejudice.




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         3.            No Defendant has yet appeared in this action. No counterclaim has been filed in

this action.

         4.            Plaintiff thus requests the Court enter an Order dismissing this case, without

prejudice, with each party to bear it or his own costs.

         WHEREFORE, Plaintiff Citizens Insurance Company of America respectfully requests

this Court enter an Order dismissing this case, without prejudice, with each party to bear it or his

own costs.


                                                   Respectfully submitted,

                                                   Citizens Insurance Company of America

                                                   By: /s/ Kelly M. Ognibene
                                                      One of its Attorneys



Jeffrey A. Goldwater, Esq. (ARDC #6189014)
Kelly Ognibene, Esq. (ARDC #6297327)
Lewis Brisbois Bisgaard & Smith, LLP
550 West Adams Street, Suite 300
Chicago, Illinois 60661
312-345-1718
Jeffrey.Goldwater@lewisbrisbois.com
Kelly.Ognibene@lewisbrisbois.com




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